Filed 8/27/24 Conservatorship of the Person and Estate of J.R. CA1/2

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          IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                                      FIRST APPELLATE DISTRICT

                                                   DIVISION TWO


 Conservatorship of the Person and
 Estate of J.R.

 PUBLIC GUARDIAN OF DEL
 NORTE COUNTY,
                                                                        A168239
           Petitioner and Respondent,
 v.                                                                     (Del Norte County
                                                                        Super. Ct. No. CVSM22-4000)
 J.R.,
           Objector and Appellant.


         J.R. appeals from the trial court’s May 17, 2023 order reappointing
respondent Public Guardian of Del Norte County (public guardian)
conservator of his person and estate pursuant to the Lanterman-Petris-Short
(LPS) Act (Welf. &amp; Inst. Code, § 5000 et seq.). The conservatorship order
expired by operation of law during the pendency of this appeal. Moreover,
there has been further activity involving the conservatorship since the appeal
was filed, activity that shows we cannot provide J.R. any effective relief. We
therefore dismiss the appeal as moot.1


         1 We note that the parties requested oral argument in response to

notices sent by the court’s clerk as a matter of course when the appeal was
fully briefed. A party has the right to oral argument in any appeal

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                                BACKGROUND
      On February 15, 2023, the public guardian filed a petition for
reappointment as the conservator of J.R.’s person and estate pursuant to
Welfare and Institutions Code section 5361, alleging that the public guardian
had previously been appointed conservator on March 18, 2022, and that J.R.
was still gravely disabled and unable to provide for his basic needs.
      A hearing on the petition was held on March 17. J.R. participated over
Zoom, and was represented by Joseph Futrell. At the beginning of the
hearing, J.R. asked to address the trial court, stating that he had “fired
Joseph Futrell because he’s not in my best interest and it’s conflict of interest
against me,” had hired a new attorney named “Mike Buell” who was “in
Toronto,” and that he “want[ed] a new lawyer besides Futrell because Futrell
is trying to fuck me over.” After J.R. asked “Can I get a new lawyer?,” the
trial court responded “[w]hen your attorney gets in touch, we’ll deal with
that.” J.R then objected to the renewal of the conservatorship and requested
a jury trial, and the court set a trial date of May 10.
      On May 3, the public guardian filed a motion to approve J.R.’s remote
appearance for his jury trial. Relying on Probate Code 1825, subdivision
(a)(2), which provides that “[t]he proposed conservatee shall be produced at
the hearing except . . . (2) [w]here the proposed conservatee is unable to
attend the hearing by reason of medical inability,” the public guardian
argued that “[d]ue to his major neurocognitive disorder with behavioral


“ ‘considered on the merits and decided by a written opinion.’ ” (Moles v.
Regents of University of California (1982) 32 Cal.3d 867, 871, italics added;
accord, Lewis v. Superior Court (1999) 19 Cal.4th 1232, 1254–1255.) Because
we dismiss the appeal without reaching the merits, the parties have no right
to oral argument, and which we find to be unnecessary to our dismissal of the
appeal as moot.

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disturbance, it is unsafe to transport [J.R.] from . . . Merced CA, to Crescent
City for trial.” The motion attached a letter from Dr. Christina Stuart, who
stated that “[J.R.] has a history of aggressive and assaultive behavior that
poses both a danger to himself and others, particularly when under the
influence of methamphetamine. He is susceptible to victimization from
others when in a less supervised and unlocked setting,” and that “I have been
informed by his conservator that the county is not able to provide a
supervised environment, if his court appearance is delayed and an overnight
stay is required. This further elevates the risk of [J.R.] inadvertently acting
to harm himself or others.” Dr. Stuart recommended that J.R. “be given
approval to appear in court through Zoom or other related software
programs.” The motion also attached a declaration from Jennifer K. Coats,
the Program Manager and the Assistant Public Guardian for Del Norte
County, noting that J.R.—a “large middle-aged man, about 6 [feet,] 6 [inches]
tall” —was currently housed in a locked psychiatric facility about 10 hours by
car from Crescent City, and that the two options for transport were to have
J.R. “leave the evening before trial at approximately 9:00 p.m. and arrive the
morning of trial,” causing him and the transport team to be awake for
24 hours, or to “pay for a hotel and bring the conservatee here the day prior,”
presenting a “high risk that [J.R.] would elope if he were left alone at a hotel
the night before the trial or the night after.”
      A hearing was held on May 5, at which J.R.’s counsel waived his
appearance, and at which the court, after noting that J.R.’s March 17
appearance was “of concern,” and that “the likelihood of him . . . escaping, for
lack of a better word, and possibly resulting in harm to him” was a
“legitimate concern,” granted the motion for remote appearance.



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      Jury trial on the petition took place on May 17, with J.R. present over
Zoom. At the beginning of the hearing, the court asked J.R. “Do you agree
that we can proceed with you by way of Zoom?,” to which J.R. replied “No.”
J.R.’s counsel indicated that J.R. objected to the finding that he was
medically unavailable to preserve the right to appeal. After a colloquy in
which the trial court attempted to explain that J.R. could either proceed with
the trial and appear over Zoom or have it postponed so that he could be
personally present, J.R. stated “[w]e can proceed today,” “I want to do it now,”
and “I would rather be there personally” but “I can do it today.” The court
concluded that J.R. had waived his right to a personal appearance and
indicated it would “stand[] by my earlier decision that the Zoom appearance
is appropriate.”
      The matter then proceeded to trial. Dr. Christina Stuart, one of J.R.’s
treating psychiatrists, opined that J.R. suffered from schizoaffective disorder,
bipolar type, and was gravely disabled. Deputy Public Guardian Jamie
Hayden testified that J.R. had been making progress in his treatment, and
that she had spoken to J.R.’s father some four months prior, and although his
father was “very happy that [J.R.] is getting the care that he needs,” he was
unable to care for him. Finally, J.R. testified on his own behalf, denying that
he had a mental illness and indicating that if the conservatorship were lifted,
he would live in “the modular home park across the street from the AIDS
clinic . . . . I live in Number 8. And I own the whole modular home park. I
bought it from Queen Elizabeth.”
      Later that afternoon, the jury found that J.R. was presently gravely
disabled due to a mental disorder. The court then reappointed the public
guardian as conservator of J.R.’s person and estate, and imposed special
disabilities denying J.R.: “(a) The privilege of possessing a license to operate

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a motor vehicle; (b) The right to enter into contracts; (d) The right to refuse
routine medical treatment that is specifically related to the proposed
conservatee’s grave disability, including the administration of psychotropic
medication; (e) The right to refuse routine medical treatment that is
unrelated to the proposed conservatee’s grave disability; [and] (f) The right to
have control of any firearm or any other deadly weapon.”
       On June 22, J.R. filed a notice of appeal.
                                  DISCUSSION
       On March 25, 2024, J.R. filed his opening brief, asserting three
arguments, that the trial court (1) violated his right to be personally present
at his trial under the due process clause and Probate Code section 1825;
(2) erred in failing to conduct a hearing under People v. Marsden (1970)
2 Cal.3d 118 (Marsden) after J.R. expressed a desire to fire his court-
appointed attorney; and (3) failed to make the required findings and identify
the supporting evidence when it imposed the special disabilities included in
its written order. On April 24 the public guardian filed its respondent’s brief,
and on May 20, J.R. filed a reply.
       The conservatorship order on appeal expired automatically on May 17,
after the respondent’s brief was filed, and we requested supplemental
briefing from the parties on the issue of whether this appeal should be
dismissed as moot. (See Welf. &amp; Inst. Code § 5361, subd. (a); Conservatorship
of K.Y. (2024) 100 Cal.App.5th 985, 988 (K.Y.) [“An LPS conservatorship
appointment or reappointment order lasts for one year only, by operation of
law”].) 2

       2 In this case, counsel for J.R. sought four extensions of time to file the

opening brief, which extended the briefing schedule by approximately three
months. Without this additional time in preparing the opening brief, the

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      J.R.’s supplemental brief appears to concede this his appeal is
“technically moot,” but makes three arguments that we should nevertheless
decide it on the merits. First, he argues that there is a “dearth of case law”
on the questions of the “constitutional and statutory right of a prospective
conservatee to attend his or her hearing in person,” and the “definition of
‘medical inability’ as that term is used in Probate Code, section 1825,
subdivision (a)(2).” Second, he argues that despite the expiration of the
conservatorship order, he will continue to suffer social and legal
consequences from the conservatorship, including stigma on his reputation,
and difficulty obtaining or maintaining a license to practice law, teach, or
drive. Finally, he argues that depriving him of his right to appeal would
violate his right to due process, noting that he has a statutory right to appeal
the conservatorship order (Prob. Code, § 1301, subd. (a)) and observing that
due process protects other statutory rights afforded to conservatees, for
example, the right to the effective assistance of counsel. (See, e.g.,
Conservatorship of David L. (2008) 164 Cal.App.4th 701, 710 (David L.).)
      In his supplemental brief, the public guardian argues that this appeal
is moot because the conservatorship order has expired, and the issues raised
are not capable of repetition but likely to evade review. In addition, his brief


appeal could likely have been decided before the expiration of the
conservatorship order. “Our intent here is not to assign blame; we
acknowledge that ‘[f]or a variety of legitimate reasons, counsel may not
always be able to prepare briefs or other documents within the time specified
in the rules of court’ and that ‘[i]f good cause is shown, the court must extend
the time.’ (Cal. Rules of Court, rule 8.63(a)(3).) Nonetheless, when
requesting an extension of time, counsel should be mindful of the expiration
date of the conservatorship order and should inform the court of that date so
that good cause may be evaluated properly.” (K.Y., supra, 100 Cal.App.5th at
p. 990, fn. omitted.)


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makes the following representations about developments with respect to
J.R.’s conservatorship during the pendency of this appeal:
      “[J.R.] was moved to a board and care home on or about March 19,
2024, in Yuba City. He transferred from California Psychiatric Transitions
(locked MHRC) to Willow Glenn (board and care). This is a ‘step down’ and
therefore shows progress in his treatment, however, the recommendation in
May 2024 was for [J.R.] to stay on conservatorship for another year. On May
17, 2024, [J.R.] appeared via Zoom and requested a bench trial to contest the
conservatorship. On May 24, 2024 the court set the trial for June 25, 2024 at
2pm and ordered his personal appearance. Judge Marilyn B. Miles ruled
that [J.R.] was still gravely disabled beyond a reasonable doubt and ordered
the powers requested be granted after finding they were necessary by clear
and convincing evidence.” These factual assertions were made without
citation to the record.
      J.R.’s appellate counsel advised that he was aware that J.R. was
transferred to Willow Glen during the pendency of this appeal, but that as to
the remaining assertions, he did not “have sufficient either direct or indirect
knowledge to agree or to disagree with them.”
      We asked the public guardian to provide documents supporting his
representations, and he filed a March 19, 2024 notice of change of address for
J.R. to Willow Glen Care Center, transcripts of the hearings held on May 17,
May 24, and June 21, and a minute order from the bench trial held before
Judge Miles on June 25. These documents indicate that J.R.—again
represented by Joseph Futrell—appeared and testified in person at the June
25 trial, along with Richard Brouette and Jennifer Beeson, and that “[u]pon
conclusion of testimony and evidence the court found, beyond a reasonable
doubt, the defendant to be gravely disabled due to mental illness and

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grant[ed] the requested orders, with details as read into the record.” On our
own motion, we take judicial notice of these documents as “[r]ecords of . . .
any court of this state.” (Evid. Code, § 452, subd. (d); see § 459, subd. (a).)
And now dismiss the appeal as moot.
        “[A]n action that originally was based on a justiciable controversy
cannot be maintained on appeal if all the questions have become moot by
subsequent acts or events. A reversal would be without practical effect, and
the appeal will therefore be dismissed.” (9 Witkin, Cal. Procedure (6th ed.
2024) Appeal, § 777.) “ ‘ “[T]he critical factor in considering whether [an]
appeal is moot is whether the appellate court can provide any effective relief
if it finds reversible error.” (In re N.S. (2016) 245 Cal.App.4th 53, 60.)’ ”
(Sturgell v. Department of Fish &amp; Wildlife (2019) 43 Cal.App.5th 35, 43–44,
quoting In re David B. (2017) 12 Cal.App.5th 663, 644.)
        “[W]e have inherent discretion to resolve an appeal on the merits where
‘the issues in [the] case are of public interest, will continue to evade review,
and are likely to recur, both in general and as to the petitioner specifically.’
(Baber v. Superior Court (1980) 113 Cal.App.3d 955, 959; Conservatorship of
Joseph W. (2011) 199 Cal.App.4th 953, 960 [exercising discretion to consider
moot appeal where ‘the issue presented . . . is capable of recurring, but
evading review, and involves a matter of general public interest’].)” (K.Y.,
supra, 100 Cal.App.5th at p. 989.) We decline to exercise that discretion
here.
        The relief requested—a reversal of the May 17, 2023 conservatorship
order and a remand for a new trial—would be “without practical effect,” given
that the order has expired by operation of law and been replaced by a new
conservatorship order, entered after a new trial at which J.R. was personally
present.

                                         8
      J.R.’s arguments that we should nevertheless decide his appeal on the
merits are unavailing. The parties agree that J.R. had a statutory right to be
physically present at his trial unless he was “unable to attend the hearing by
reason of medical inability” (Prob. Code, § 1825, subd. (a)(2)), and that “a
prospective conservatee who requests substitute appointed counsel must be
given a full opportunity to state the reasons for his request in accordance
with Marsden.” (David L., supra, 164 Cal.App.4th at pp. 712–713.) The
further questions of whether the trial court properly found, based on the
declarations of Drs. Stuart and Coats, that the prosecution had established
such “medical inability,” and whether J.R.’s colloquies with the trial court
constituted a waiver of his right to be physically present or triggered the
court’s obligations under Marsden are highly factual ones specific to the
circumstances of this case and unlikely to recur.
      As for J.R.’s argument that we should decide his appeal on the merits
because of the social stigma and legal consequences of the now-expired
conservatorship order, the record shows that J.R. was first placed on
conservatorship in 2014, a conservatorship that lasted until late 2020, and
that, as noted, has since been renewed. Given this history, “there is little
likelihood that [J.R.] will suffer collateral consequences as a result of the
finding of grave disability on this specific petition.” (K.Y., supra, 100
Cal.App.5th at p. 989.) Finally, even if due process protects J.R.’s statutory
right to appeal the conservatorship order, nothing about due process requires
us to exercise our inherent discretion to decide an appeal that has become
moot, and none of the authorities cited by J.R. suggest otherwise.
                                DISPOSITION
      The appeal is dismissed as moot.



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                                    _________________________
                                    Richman, Acting P.J.




We concur:


_________________________
Miller, J.


_________________________
Desautels, J.




Conservatorship of J.R. (A168239)




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